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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) CR. NO. S-99-433-WBS
                                     )
12                  Plaintiff,       ) GOVERNMENT’S REQUEST FOR
               v.                    ) ADDITIONAL TIME TO FILE ITS
13                                   ) OPPOSITION TO DEFENDANT JOHN THAT
                                     ) LUONG’S MOTION TO DISMISS RE:
14   JOHN THAT LUONG, et al.,        ) PINKERTON THEORY AND HOBBS ACT,
                                     ) AND MOTION TO DISMISS THE
15                 Defendants.       ) INDICTMENT
     _______________________________ )
16
17        The United States of America, through its counsels of record,
18   Benjamin B. Wagner, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, hereby submits this request for additional time to file
21   its opposition to defendant John That Luong’s motion to dismiss re:
22   Pinkerton Theory and Hobbs Act, and motion to dismiss the
23   indictment.
24        On December 3, 2009, this Court issued an order for the
25   government to file its opposition to defendant John That Luong’s
26   motion to dismiss the indictment (Ct. dkt. 1348) and motion to
27   dismiss re: Pinkerton Theory/Hobbs Act (Ct. dkt. 1353) on or before
28   December 21, 2009.

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 1        The court granted the government’s request to file its
 2   opposition on December 31, 2009.      However, on December 29, 2009
 3   counsel for defendant John That Luong emailed the government
 4   informing the parties that because of a conflict in his schedule
 5   with a RICO case in Fresno, defendant Luong is requesting a change
 6   in the sentencing date of January 19, 2010.        After an exchange of
 7   emails and telephone calls, defendant Luong’s counsel, Richard
 8   Mazer, and the government spoke on telephone on Tuesday, December
 9   29, 2009.   During this conversation, government’s counsel agreed to
10   not oppose the request by defendant Luong to continue the sentencing
11   date to February 22, 2010, or later, depending on the court’s
12   availability.   Furthermore, counsel for the government requested a
13   change in the dates for the filing of the government’s opposition
14   and the defendant’s reply, if any, because of the change in the
15   sentencing date, due to the short staff at the U.S. Attorney’s
16   Office during the holidays, and to give the government additional
17   time to respond considering the holiday season.        Defendant Luong’s
18   counsel, Richard Mazer, had no objection to a revised motion
19   schedule in light of the anticipated change in the sentencing date.
20        Counsel for the government respectfully requested and the Court
21   granted additional time to February 5, 2010, to file its opposition
22   to the aforesaid motions filed by defendant John That Luong.
23        The Court granted the defendant’s request to continue their
24   sentencing date to March 1, 2010.        The government is not requesting
25   a change in the sentencing date.
26        Counsel for the government has been involved in researching and
27   responding to a complicated motion to suppress evidence in United
28   States v. Holmes, CR S 08-325 EJG, which was also due on February 5,

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 1   2010.    The Holmes suppression motion presented complicated legal
 2   issues that took an extraordinary amount of time to research and
 3   write.    Furthermore, counsel for the government has been preparing
 4   for an oral argument of four appellate cases in United States v.
 5   Michael Dennis Williams, CA 06-10369, United States v. Kenneth
 6   Rodgers, CA 06-10378, United States v. Shondor Arceneaux, CA 06-
 7   10381, and United States v. Derek Maddox, CA 08-10042, which have
 8   been consolidated for oral argument on February 8, 2010, at the
 9   Ninth Circuit Court of Appeals.         Counsel for the government is
10   requesting additional time to February 10, 2010 to file its
11   response.     The defendant’s reply could be filed by February 22,
12   2010.    The hearing on the motions should remain as set for March 1,
13   2010.
14                                               Respectfully submitted,
15                                               BENJAMIN B. WAGNER
                                                 United States Attorney
16
17   DATED: February 5, 2010               By: /s/ William S. Wong
                                               WILLIAM S. WONG
18                                             Assistant U.S. Attorney
19
20                                         ORDER
21           For the foregoing reasons and good cause having been shown, the
22   government’s opposition is now due on February 10, 2010.             The
23   defendant’s reply, if any, is ordered to be filed on February 22,
24   2010, and the hearing on the motions is set for March 1, 2010, at
25   9:00 a.m.
26   DATED: February 5, 2010
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